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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Malibu Media, LLC
                              Plaintiff,
v.                                                 Case No.: 1:18−cv−02545
                                                   Honorable Robert W. Gettleman
John Doe, et al.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 13, 2019:


       MINUTE entry before the Honorable Robert W. Gettleman: Status and motion
hearing held on 3/13/2019. Plaintiff's motion to file a brief in excess of page limit [25] is
granted. For the reasons stated on the record, Plaintiff's motion for entry of default
judgment [27] is granted. Enter Order. Civil case terminated. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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